                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

   UNITED STATES OF AMERICA                             )
                                                        )       Case No. 1:09-cr-181-038
   v.                                                   )
                                                        )       Judge McDonough/Steger
   JEFFREY SMITH                                        )

                                  MEMORANDUM AND ORDER

           JEFFREY SMITH (“Defendant”) came before the Court for an initial appearance on
   November 5, 2020, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on
   the Petition for Warrant for Offender under Supervision (“Petition”) [Doc. 1854].

           After being sworn in due form of law, Defendant was informed of his privilege against
   self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
   the United States Constitution.

           The Court determined Defendant wanted to be represented by an attorney and that he
   qualified for the appointment of an attorney to represent him at government expense.
   Consequently, the Court APPOINTED Attorney Myrlene Marsa of Federal Defender Services of
   Eastern Tennessee, Inc., to represent Defendant.

          Defendant was furnished with a copy of the Petition, and had an opportunity to review that
   document with his attorney. The Court determined that Defendant was able to read and understand
   the Petition with the assistance of his counsel. In addition, AUSA Frank Clark explained to
   Defendant the specific charges contained in the Petition. Defendant acknowledged that he
   understood the charges in the Petition.

           The Government moved Defendant be detained pending disposition of the Petition or
   further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
   detention hearing and what those hearings entail. Defendant conferred with his counsel and waived
   the preliminary hearing and the detention hearing.

           The Court finds that probable cause exists to demonstrate that Defendant has committed
   violations of his conditions of supervised release, and that Defendant has not carried the burden of
   establishing by clear and convincing evidence that he will not flee or pose a danger to any other
   person or to the community. Consequently, the Court GRANTED the Government’s oral motion
   to detain Defendant pending disposition of the Petition or further Order of this Court.



                                                    1




Case 1:09-cr-00181-TRM-CHS Document 1859 Filed 11/05/20 Page 1 of 2 PageID #: 8687
         It is, therefore, ORDERED that:

            1. Counsel for Defendant and the Government shall confer and make best
               efforts to submit to the United States District Judge a proposed Agreed
               Order with respect to an appropriate disposition of the Petition for Warrant
               for Offender Under Supervision.

            2. In the event counsel are unable to reach agreement with respect to an
               appropriate disposition of the Petition for Warrant for Offender Under
               Supervision, they shall request a hearing before the United States District
               Judge.

            3. The Government’s motion that Defendant be DETAINED WITHOUT
               BAIL pending further Order of this Court is GRANTED.

         ENTER.


                                             /s/ Christopher H. Steger
                                             UNITED STATES MAGISTRATE JUDGE




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Case 1:09-cr-00181-TRM-CHS Document 1859 Filed 11/05/20 Page 2 of 2 PageID #: 8688
